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ATTORNEYS (440) $44-1147

aminc@dhplaw.com

March 25, 2016

Via Overnight Delivery

Clerk’s Office “seme.
United States District Court 3:16-ms-00006

District of Nevada
400 S. Virginia St.
Reno, NV 89501

RE: Copyright Infringement
Dear Sir or Madam:

On behalf of my client, PG Ventures I respectfully request that the Clerk issue a
subpoena pursuant to 17 U.S.C. § 512(h).

By way of background, Section 512(h) of the Digital Millennium Copyright Act provides
that a "copyright owner or a person authorized to act on the owner's behalf may request the clerk
of any United Sates District Court to issue a subpoena to a service provider for identification
of an alleged infringer in accordance with this subsection." 17 U.S.C. § 512(h)(1). For a
subpoena to be issued, Section 512 (h) requires that a copyright owner file the following with the
Clerk:

1. Acopy of the notification required by Section 512(c)(3)(A);

2. A proposed subpoena; and

3. A sworn declaration to the effect that the purpose for which the subpoena is
sought is to obtain the identity of an alleged infringer and that such
information will only be used for the purpose of protecting rights under this
title.

Accordingly, attached for filing with the Clerk our notification pursuant to Section
512(c)(3)(A), a purposed subpoena, and a sworn declaration. As we have complied with the
requirements of the statute, we ask that the Clerk pursuant to Section 512(h)(4) expeditiously
issue and sign the proposed subpoena and return it to undersigned counsel for service on the
subpoena recipient. .

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March 25, 2016
Page 2

 

Thank you for your cooperation and prompt response in this matter. If you have any
questions, I am reachable as noted above.

Very truly yours,

(Liv Fle

Aaron M. Minc
AMM:rp
Enc.
Case 3:16-ms-00006 Document1 Filed 04/04/16 Page 3 of 4

UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA

IN RE DMCA SUBPOENA TO : Case No.

DECLARATION OF
AARON MINC

I, Aaron Minc, declare and testify as follow:

1.

2.

I am admitted to practice law in the State of Ohio. I represent PG Ventures (“PG”).

On behalf of PG, I am seeking a subpoena pursuant to 17 U.S.C. § 512(h) to obtain
information sufficient to identity of a person or entity who anonymously posted
photographs, images, and videos on the website “8chan” located on the URLs more fully
set forth on Schedule I (“Anonymous User’).

. | have a good faith belief, based on the facts known to me, that Anonymous User is

infringing on PG’s intellectual property rights.

The purpose for which the subpoena is sought is to obtain the identity of alleged
infringers and the information obtained therefrom will only be used for the purpose of
protecting rights under 17 U.S.C. 101, et. seq.

. I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

Executed on March 25, 2016.

Ze

Aaron M. Minc, OH 0086718
Case 3:16-ms-00006 Document1 Filed 04/04/16 Page 4 of 4

SCHEDULE I

https://media.8ch.net/auca/src/1457975562770.webm
https://media.8ch.net/auca/src/145 1525493450-1.webm
http://8ch.net/wx/res/42549.html
http://8ch.net/wx/sre/1448660558972-0.webm
http://8ch.net/wx/sre/1449572390395.png
http://8ch.net/wx/src/1449572421795.jpg
http://8ch.net/wx/src/1449572468390.webm
http://8ch.net/wx/srce/1449572578597.webm
http://8ch.net/wx/src/1449574604767 jpg
http://8ch.net/wx/res/42549.html#44457
http://8ch.net/wx/res/42549. html#45003
http://8ch.net/wx/src/1450798678886-4.jpg
http://8ch.net/wx/sre/1450798678886-3 jpg
http://8ch.net/wx/src/1450798678885-2.jpg
http://8ch.net/wx/sre/1450798678885-1 jpg
http://8ch.net/wx/src/1450798678884-0.jpg
http://8ch.net/wx/res/42549.html#45 198
http://8ch.net/wx/res/42549.html#45 199
http://8ch.net/wx/res/42549.html#45278
http://8ch.net/wx/res/42549.html#45290
http://8ch.net/wx/res/42549.html#45335
http://8ch.net/wx/res/42549. html#45357
http://8ch.net/wx/srce/1451150963588.png
http://8ch.net/wx/res/42549.html#45390
https://8ch.net/player.php?v=/wx/src/ 14486603 13221-1.webm&t=white%20v%20black.webm&loop=
http://8ch.net/wx/res/42549.html#45824
http://8ch.net/wx/sre/145 1888400002. jpg
http://8ch.net/wx/res/42549.html#47 110
http://8ch.net/wx/src/1453843534200.webm
http://8ch.net/wx/src/1453844066281.webm
http://8ch.net/wx/sre/1454249620909.webm
http://8ch.net/wx/res/42549.html#497 13
http://8ch.net/wx/res/42549. html#497 17
http://8ch.net/wx/res/42549.html#49878
http://8ch.net/wx/res/42549.html#499 15
http://8ch.net/wx/res/42549.html#50007
http://8ch.net/wx/src/1457357488636-0.webm
http://8ch.net/wx/sre/1457357488637-1.webm
http://8ch.net/wx/sre/1457357526390-0.webm
http://8ch.net/wx/sre/1457357526392-1.webm
http://8ch.net/wx/res/42549.html#54323
http://8ch.net/wx/res/42549. html#54387
http://8ch.net/wx/res/42549.html#54400
http://8ch.net/wx/src/14486603 13220-0.webm
http://8ch.net/wx/srce/14486603 13221-1.webm
